Case 3:16-cv-00940-MPS Document 140-2 Filed 05/03/19 Page 1 of 8




             EXHIBIT 1
     Case 3:16-cv-00940-MPS Document 140-2 Filed 05/03/19 Page 2 of 8
                                                                          1




 1                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT
 2
       - - - - - - - - - - - - - - - - x
 3                                              No. 3:16-CV-00940 (MPS)
       DENIS MARC AUDET, MICHAEL
 4     PFEIFFER, and DEAN ALLEN                 APRIL 12, 2019
       SHINNERS, Individually and on
 5     Behalf of All Others Similarly           10:02 a.m.
       Situated
 6                                              HEARING
       vs.
 7
       STUART A. FRASER, GAW MINERS,
 8     LLC, and ZENMINER, LLC, (d/b/a
       ZEN CLOUD)
 9
       - - - - - - - - - - - - - - - - x
10
11                                450 Main Street
                               Hartford, Connecticut
12
13             BEFORE:    THE HONORABLE MICHAEL P. SHEA, U.S.D.J.

14
15     APPEARANCES:

16     FOR THE PLAINTIFFS:

17                SUSMAN GODFREY, L.L.P.
                       1000 Louisiana Street, Suite 5100
18                     Houston, Texas 77002
                  BY: COLIN M. WATTERSON, ESQUIRE
19
                  SUSMAN GODFREY, L.L.P.
20                     1301 Avenue of the Americas, 32nd Floor
                       New York, New York 10019
21                BY: SETH D. ARD, ESQUIRE

22                IZARD, KINDALL & RAABE, LLP
                       29 South Main Street, Suite 305
23                     West Hartford, Connecticut 06107
                  BY: CHRISTOPHER M. BARRETT, ESQUIRE
24
                                                (continued ...)
25
     Case 3:16-cv-00940-MPS Document 140-2 Filed 05/03/19 Page 3 of 8
                                                                        2




 1     FOR THE DEFENDANTS:

 2                HUGHES, HUBBARD & REED L.L.P.
                       One Battery Park Plaza, 12th Floor
 3                     New York, New York 10004-1482
                  BY: SARAH L. CAVE, ESQUIRE
 4                     DANIEL H. WEINER, ESQUIRE
                       HANNAH MILLER, ESQUIRE
 5
                  BRENNER, SALTZMAN & WALLMAN
 6                     271 Whitney Avenue
                       New Haven, Connecticut 06511-1746
 7                BY: SEAN M. FISHER, ESQUIRE

 8
 9     COURT REPORTER:     Julie L. Monette, RMR, CRR, CCP
                               (860) 212-6937
10
       Proceedings recorded by mechanical stenography, transcript
11     produced by computer.

12
13
14
15
16
17
18
19
20
21
22
23
24
25
     Case 3:16-cv-00940-MPS Document 140-2 Filed 05/03/19 Page 4 of 8
                                                                              100




 1     you read about the internal -- the internal hack, you know, it

 2     seemed to me that that --

 3                THE COURT:   What about Hashlets that had been split

 4     and/or destroyed?     I'm just reading from page 61 or ECF

 5     107-61.

 6                MR. WATTERSON:    The splitting is a reference to one

 7     thing that you should do with these Hashlets, they were sold in

 8     units of power; so if you had a 10-mega Hashlet, you could

 9     split it into ten 1-mega Hash Hashlets.         I think that's what

10     the reference to splitting is.

11                THE COURT:   What about the reference to destroyed?

12                MR. WATTERSON:    I'm not sure what she means.

13                THE COURT:   This is the point.      We don't know what she

14     meant.    You could have gone out and interviewed her.           My point

15     is simply I just -- in light of that testimony, it's really

16     hard for the Court to conclude that in a ruling on class

17     certification, or for that matter anything else, it should rely

18     on the data base.     I mean this is -- so that's kind of where I

19     am on that.    So that's why I was asking you about other things.

20         And do you not want to do this sampling thing?          Is there

21     some reason you don't want to do that?

22                MR. WATTERSON:    No, Your Honor.     My position is that

23     it's not necessary.

24                THE COURT:   Again --

25                MR. WATTERSON:    But obviously, if that would bring the
     Case 3:16-cv-00940-MPS Document 140-2 Filed 05/03/19 Page 5 of 8
                                                                                 101




 1     Court more confidence, we will do that.

 2               THE COURT:    All right.     And then the Shopify data

 3     base, again, you haven't really told me -- I feel like I'm not

 4     getting the full picture.       You haven't -- from what I know, if

 5     I were in your position, I would be jumping on the Shopify data

 6     base.   "Judge, it's good.      That's all good."     But that's not

 7     the case for some reason.

 8               MR. WATTERSON:       What I think Ms. -- the point is the

 9     Shopify data base, what we have, is from a certain period of

10     time, and it wouldn't --

11               THE COURT:    It wouldn't cover as much as you want.

12               MR. WATTERSON:       And so --

13               THE COURT:    Yes?     Correct?

14               MR. WATTERSON:       That's correct.     And so that's why Mr.

15     Mills went ahead and tried to cross-reference with the data

16     base.   And, you know, I think the fact that he found that there

17     is similar e-mails, there's similar phone numbers, there's

18     similar addresses across these data bases does indicate at

19     least this information about membership is reliable.             And so

20     that's why he went ahead and did that analysis.

21               THE COURT:    Okay.     All right.     So, yeah, I think I am

22     going to want some kind of a sampling procedure, and what I'll

23     ask the parties to do, then, is to just come up with a method.

24     I hope you can.     I really don't want to have to do that.

25     Whether it be alphabetical, you take every other name, I don't
     Case 3:16-cv-00940-MPS Document 140-2 Filed 05/03/19 Page 6 of 8
                                                                          102




 1     really care.

 2           I think that 20 is a good number.      If you want to file all

 3     of them -- I guess what I would say is the filings on behalf of

 4     the three are quite extensive.       I'm not really sure I need all

 5     that material.    What I'm most interested in is seeing whether

 6     or not the e-mails look like the e-mails that Mr. Shinners, Mr.

 7     Audet, and Mr. Pfeiffer -- Pfeiffer?

 8                MR. WATTERSON:      Correct, Pfeiffer.

 9                THE COURT:    -- Pfeiffer had that say, "Thank you for

10     purchasing from GAW Miners."       That's what I'm most interested

11     in.

12           Now, I don't want to define the task in a way that by

13     definition prejudices the defendant.        So maybe what we do is --

14     and I don't want 2,000 pages on the docket.         So I think maybe

15     what we do is you pick 20 people and you come up with the

16     method, and then you each pick, let's say, 10 pages from that

17     person.   So we're limited then to 400 pages, which is plenty.

18           And then you might as well just file them on the docket so

19     you have a good record and all that.        You can break it up into

20     pieces, if you want.      But -- and something -- at least some

21     declaration from counsel would be helpful just so I'm sure I

22     know what I have.      Okay?   Are there any questions about that?

23                MS. CAVE:    If I could raise two things about that,

24     Your Honor, I guess.      Mr. Watterson and I have a very good

25     working relationship.      I have no doubt we'll be able to work
     Case 3:16-cv-00940-MPS Document 140-2 Filed 05/03/19 Page 7 of 8
                                                                               103




 1     this out.     If for some reason we can't, I assume we can come

 2     back --

 3                 THE COURT:    You can.

 4                 MS. CAVE:    -- or if what Your Honor's requesting does

 5     not work.

 6                 THE COURT:    Yes, just file a motion for a status

 7     conference.

 8                 MS. CAVE:    In addition to that, if we could have

 9     permission to submit a very short brief or something like that

10     that explains --

11                 THE COURT:    Your position.

12                 MS. CAVE:    -- what our position is?

13                 THE COURT:    Five pages each.     Five pages each, at the

14     same time you file this.        Can you do this within the next 21

15     days?

16                 MS. CAVE:    Yes.

17                 MR. WATTERSON:      Yes.

18                 THE COURT:    21 days.     So let's set a date.

19                 MS. CAVE:    Then the last thing I would say, I'm not

20     sure that's going to solve all the other problems that we've

21     raised, including charge-backs and other things, but we can

22     address that once we look at this.

23                 THE COURT:    So May 3rd.     All right.   Does everybody

24     understand what I want on May 3rd?

25                 MR. WATTERSON:      Yes, Your Honor.
     Case 3:16-cv-00940-MPS Document 140-2 Filed 05/03/19 Page 8 of 8
                                                                        122




 1
 2
 3                             C E R T I F I C A T E

 4
 5
 6
 7                       I, Julie L. Monette, RMR, CRR, CRC, Official

 8     Court Reporter for the United States District Court for the

 9     District of Connecticut, do hereby certify that the foregoing

10     pages are a true and accurate transcription of my shorthand

11     notes taken in the aforementioned matter to the best of my

12     skill and ability.

13
14
15                            /S/ JULIE L. MONETTE
                        __________________________________
16                       Julie L. Monette, RMR, CRR, CRC
                              Official Court Reporter
17                                450 Main Street
                            Hartford, Connecticut 06103
18                                 (860) 212-6937

19
20
21
22
23
24
25
